234 F.3d 1161 (11th Cir. 2000)
    Robert C. TOUCHSTON, Deborah Shepperd, et al., Plaintiffs-Appellants,v.Michael McDERMOTT, in his official capacity as a member of the County Canvassing Board of Volusia County, Ann McFall, in her official capacity as a member of the County Canvassing Board of Volusia County, et al., Defendants-Appellees.
    No. 00-15985.
    United States Court of Appeals, Eleventh Circuit.
    December 9, 2000.December 29, 2000.
    
      On Appeal from the United States District Court for the Middle District of  Florida, (No. 00-01510-CV-ORL-28C), John Antoon, II, Judge.
      ON APPELLANTS' EMERGENCY MOTION FOR INJUNCTION PENDING PETITION FOR CERTIORARI
      Before ANDERSON, Chief Judge, and TJOFLAT, EDMONDSON, COX, BIRCH, DUBINA, BLACK,  CARNES, BARKETT, HULL, MARCUS and WILSON, Circuit Judges.
    
    ORDER:
    
      1
      In order to ensure that the United States Supreme Court has sufficient time to  rule on the certiorari petition in this case, the Florida Secretary of State and  the Florida Elections Canvassing Commission are enjoined from changing, after  the issuance of this order, any previously certified results of the presidential  election based upon any manual recounts after the existing certification.  Nothing in this order should be construed to prevent, obstruct, or impede the  continuation of the manual recounts that are currently being conducted.
    
    
      2
      This order shall remain in effect until vacated by this Court or the United  States Supreme Court, or until the certiorari petition is rules upon, whichever  comes first.
    
    